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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    PEGGY SASSO, Bar #228906
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    FRANCISCO JAVIER DE LEON
7
8                            IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                    Case No. 1:17-cr-00180-DAD–BAM-1
12                           Plaintiff,            STIPULATION AND ORDER ADVANCING
                                                   HEARING
13          vs.
14    FRANCISCO JAVIER DE LEON,                    DATE: February 5, 2018
                                                   TIME: 10:00 am
15                         Defendant.              JUDGE: Hon. Dale A. Drozd
16
17          IT IS HEREBY STIPULED by and through the parties through their respective counsel,

18   Assistant United States Attorney Jeffrey A. Spivak, Counsel for Plaintiff, and Assistant Federal

19   Defender Peggy Sasso, Counsel for Defendant Francisco Javier De Leon, that the status

20   conference set for February 12, 2018 may be advanced and rescheduled to Monday,

21   February 5, 2018 at 10:00 a.m. for a change of plea before the Honorable Dale A. Drozd,

22   United States District Judge.

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1                                                        Respectfully submitted,
2
                                                         MCGREGOR W. SCOTT
3                                                        United States Attorney
4
5    DATED: February 1, 2018                     By:     /s/ Jeffrey A. Spivak
                                                         JEFFREY A. SPIVAK
6                                                        Assistant United States Attorney
                                                         Attorney for Plaintiff
7
8                                                        HEATHER E. WILLIAMS
                                                         Federal Defender
9
10   DATED: February 1, 2018                      By:    /s/ Peggy Sasso
                                                         PEGGY SASSO
11                                                       Assistant Federal Defender
                                                         Attorney for Defendant
12                                                       FRANCISCO JAVIER DE LEON
13
14                                              ORDER
15          The court has reviewed and considered the stipulation of the parties to vacate the status
16   conference and set a change of plea hearing in this case. Good cause appearing, the status
17   conference as to Francisco Javier De Leon currently set for February 12, 2018, before Magistrate
18   Judge Barbara A. McAuliffe is vacated and a change of plea hearing is set for February 12,
19   2018, at 11:30am in Courtroom 5 before District Judge Dale A. Drozd. The time period between
20   December 11, 2017 and February 12, 2018 has already been excluded.
21
     IT IS SO ORDERED.
22
23      Dated:    February 1, 2018
                                                        UNITED STATES DISTRICT JUDGE
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